                               Case 19-11938-LSS              Doc 16       Filed 09/04/19        Page 1 of 3


                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE

           In re:                                                        Chapter 11

           UBIOME, INC.,1                                                Case No. 19-11938 (LSS)

                                                  Debtor.

                            NOTICE OF HEARING TO CONSIDER FIRST DAY PLEADINGS

                               PLEASE TAKE NOTICE that on September 4, 2019, uBiome, Inc., as debtor

           and debtor-in-possession (the “Debtor”), filed a voluntary petition for relief under title 11 of the

           United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), with the Clerk of the

           United States Bankruptcy Court for the District of Delaware. The Debtor continues to operate its

           business as a debtor-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

           Code.

                               PLEASE TAKE FURTHER NOTICE that the Debtor will present the

           following pleadings (the “First Day Pleadings”) on September 5, 2019 at 3:00 p.m. (ET) (the

           “Hearing”) before the Honorable Laurie Selber Silverstein, United States Bankruptcy Judge, in

           the United States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 6th Floor,

           Courtroom No. 2, Wilmington, Delaware 19801:

                                                       FIRST DAY PLEADINGS

           1.         Debtor’s Application for an Order Appointing Donlin Recano & Company, Inc. as
                      Claims and Noticing Agent for the Debtor Pursuant to 28 U.S.C. § 156(c), Nunc Pro
                      Tunc to the Petition Date [Docket No. 3]

           2.         Debtor’s Motion for Interim and Final Orders Authorizing (A) the Maintenance of the
                      Cash Management System; (B) Maintenance of the Existing Bank Accounts;
                      (C) Continued Use of Existing Business Forms; (D) Continued Performance of
                      Intercompany Transactions in the Ordinary Course of Business and Grant of
                      Administrative Expense Status for Postpetition Intercompany Claims, and (E) Granting
                      Related Relief [Docket No. 4]


           1
                The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The Debtor’s
                headquarters is located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
01:25015785.1
                          Case 19-11938-LSS       Doc 16     Filed 09/04/19   Page 2 of 3


         3.       Debtor’s Motion for Entry of an Order Authorizing Payment of (A) Certain Prepetition
                  Wages, Salaries, and Other Compensation and (B) Certain Employee Benefits and Other
                  Associated Obligations [Docket No. 5]

         4.       Debtor’s Motion for Entry of Interim and Final Orders (A) Prohibiting Utility Providers
                  from Altering, Refusing, or Discontinuing Service; (B) Approving the Debtor’s Proposed
                  Adequate Assurance of Payment for Postpetition Services; and (C) Establishing
                  Procedures for Resolving Requests for Additional Adequate Assurance of Payment
                  [Docket No. 6]

         5.       Debtor’s Motion for Entry of Interim and Final Orders (A) Authorizing, but not
                  Directing, the Debtor to Pay Certain Prepetition Taxes and Obligations and (B) Granting
                  Related Relief [Docket No. 7]

         6.       Debtor’s Motion for Entry of Interim and Final Orders Authorizing (A) Continuation of,
                  and Payment of Prepetition Obligations Incurred in the Ordinary Course of Business in
                  Connection with Various Insurance Policies, Including Payment of Policy Premiums and
                  Broker Fees, and (B) Banks to Honor and Process Checks and Electronic Transfer
                  Requests Related Thereto [Docket No. 8]

         7.       Debtor’s Motion for Entry of an Order Authorizing the Debtor to Pay Claims for
                  Prepetition Customs, Shipper, Warehousemen, and Common Carrier Obligations [Docket
                  No. 9]

         8.       Debtor’s Motion for Entry of Interim and Final Orders, Pursuant to Sections 105(a), 363,
                  1107(a), and 1108 of the Bankruptcy Code (I) Authorizing the Debtor to Pay Certain Pre-
                  Petition Claims of Critical Vendors and (II) Authorizing and Directing Financial
                  Institutions to Honor and Process Checks and Transfers Related to Such Claims [Docket
                  No. 10]

         9.       Debtor’s Motion for Entry of an Order Authorizing Certain Procedures to Maintain the
                  Confidentiality of Patient Information as Required by Applicable Privacy Rules [Docket
                  No. 11]

         10.      Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing the Debtor to
                  Obtain Postpetition Secured Financing, (II) Authorizing the Use of Cash Collateral,
                  (III) Granting Liens and Superpriority Administrative Expense Status, (IV) Granting
                  Adequate Protection, (V) Modifying the Automatic Stay, and (VI) Scheduling a Final
                  Hearing [Docket No. 13]

                          PLEASE TAKE FURTHER NOTICE that copies of all of the First Day

         Pleadings will be mailed to you subsequent to the Hearing and are currently available on the

         Court’s website, located at www.deb.uscourts.gov, and on the website of the Debtor’s proposed

         claims     and    noticing   agent,   Donlin    Recano    &     Company,     Inc.,   located   at


01:25015785.1
                                                         2
                       Case 19-11938-LSS       Doc 16     Filed 09/04/19   Page 3 of 3


         www.donlinrecano.com/ubiome. If you would like to receive copies of any of the First Day

         Pleadings prior to the Hearing, you may contact Troy M. Bollman, Paralegal, at (302) 573-7796

         or tbollman@ycst.com. All parties wishing to participate in the Hearing telephonically must

         make arrangements with Court Call ((866) 582-6878; www.courtcall.com) prior to the Hearing.


         Dated: Wilmington, Delaware        YOUNG CONAWAY STARGATT & TAYLOR, LLP
                September 4, 2019
                                            /s/ Jordan E. Sazant
                                            Michael R. Nestor (No. 3526)
                                            Joseph M. Barry (No. 4221)
                                            Andrew L. Magaziner (No. 5426)
                                            Joseph M. Mulvihill (No. 6061)
                                            Jordan E. Sazant (No. 6515)
                                            Rodney Square, 1000 North King Street
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 571-6600
                                            Facsimile: (302) 571-1253

                                            Proposed Counsel to the Debtor and Debtor in Possession




01:25015785.1
                                                      3
